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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF MISSISSIPPI
ABERDEEN DIVISION

JESSE HENDRIX PLAINTIFF
Vv. Civil No. 1:18-cv-00114-GHD-DAS
EVERGREEN HAULING DEFENDANT

 

ORDER GRANTING IN PART AND DENYING IN PART MOTION FOR
ATTORNEY’S FEES AND COSTS

 

For the reasons set forth in the memorandum opinion issued this day, the Court
ORDERS that Plaintiff's motion for attorney’s fees and costs [12] is GRANTED in PART

and DENIED in Part. Plaintiff is ae $6,000.75 in attorney’s fees and $500.00 in costs.
¥ J AZ

SO ORDERED, this the day of January, 2019.

SENIOR U.S. DISTRICT JUDGE

 
